                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                     3:12cr380

UNITED STATES OF AMERICA,           )
                                    )
Vs.                                 )                      ORDER
                                    )
(2) GERMAN MARTINEZ GARCIA          )
                                    )
            Defendant.              )
____________________________________)

        THIS MATTER is before the court on the government’s Motion to Dismiss Count

Twelve of the Indictment (#32). The motion does not reflect that defendant has been consulted

or consents to the motion. Pursuant to Local Rule 47.1(E), however, the time for filing a

response has run. Having carefully considered the motion, the court enters the following Order.



                                           ORDER

        IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#32) is

GRANTED and the charges contained in Count Twelve of the Indictment are DISMISSED

without prejudice.

 Signed: May 3, 2013




        Case 3:12-cr-00380-MOC         Document 35       Filed 05/03/13     Page 1 of 1
